  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 1 of 24 PageID #:8810



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHEMONT INTERNATIONAL SA,              )
CARTIER INTERNATIONAL A.G.,              )
MONTBLANC-SIMPLO GMBH, CHLOE             )   Case No. 16-cv-01227
S.A.S., VAN CLEEF & ARPELS SA,           )
OFFICINE PANERAI A.G., and LANCEL        )   Judge Manish S. Shah
INTERNATIONAL SA,                        )
                                         )   Magistrate Judge Sheila Finnegan
                      Plaintiffs,        )
                                         )
      v.                                 )
                                         )
LUO LIANG, et al.,                       )
                                         )
                      Defendants.        )

   PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
  SUMMARY JUDGMENT AND A STATUTORY DAMAGES AWARD AS TO THE
  DEFENDANT IDENTIFIED BY AND OPERATING AT LEAST THE INTERNET
                     STORE ROYALWAYTRADE
       Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 2 of 24 PageID #:8811



                                                     TABLE OF CONTENTS

I.       INTRODUCTION ................................................................................................................ 1 

         A.      Plaintiff Van Cleef & Arpels’ ALHAMBRA Trademarks ......................................... 3 

         B.      Defendant’s Unlawful Activities ................................................................................ 3 

         C.      Procedural History ...................................................................................................... 4 

II.      ARGUMENT ....................................................................................................................... 5 

         A.      Summary Judgment Standard ..................................................................................... 5 

         B.      Plaintiff Is Entitled to Summary Judgment Against Defendant on Its Trademark
                 Infringement and Counterfeiting, False Designation of Origin, and UDTPA Claims ..
                  .................................................................................................................................... 5 

                 i.       The ALHAMBRA Trademarks Are Federally Registered ............................... 6 

                 ii.      Defendant Advertised and/or Offered to Sell Counterfeit Goods in Commerce
                          without Van Cleef & Arpels’ Authorization ..................................................... 7 

                 iii.     Defendant’s Use of the Counterfeit ALHAMBRA Trademarks Causes a
                          Likelihood of Confusion and Infringes as a Matter of Law .............................. 7 

III.  PLAINTIFF IS ENTITLED TO STATUTORY DAMAGES ............................................. 9 

         A.      Statutory Damages Are Appropriate in this Case ..................................................... 10 

         B.      Defendant’s Wide Exposure over the Internet Merits a Substantial Statutory
                 Damages Award ........................................................................................................ 12 

         C.      The Value of the ALHAMBRA Trademarks Justifies a High Statutory Damages
                 Award ....................................................................................................................... 14 

         D.      The Requested Statutory Damages Award Must Sufficiently Deter Defendant and
                 Similar Online Counterfeit Sellers ............................................................................ 15 

IV.  PLAINTIFF IS ENTITLED TO PERMANENT INJUNCTIVE RELIEF ........................ 16 

V.       PLAINTIFF IS ENTITLED TO ATTORNEY’S FEES AND COSTS ............................. 16 

VI.  CONCLUSION .................................................................................................................. 17 




                                                                          ii
                                                                            
    Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 3 of 24 PageID #:8812



                                              TABLE OF AUTHORITIES

Cases 

Anderson v. Liberty Lobby, Inc.,
      477 U.S. 242 (1986) ............................................................................................................ 5

AutoZone, Inc. v. Strick,
      543 F.3d 923 (7th Cir. 2008) .............................................................................................. 8

Bulgari, S.p.A. v. Zou Xiaohong, et al.,
       2015 U.S. Dist. LEXIS 140606 (N.D. Ill. Oct. 15, 2015) ........................... 1, 11, 13, 16, 17

Burberry Ltd. v. Designers Imps., Inc.,
      No. 07-cv-3997, 2010 U.S. Dist. LEXIS 3605 (S.D.N.Y. Jan. 19, 2010) ........................ 14

CAE, Inc. v. Clean Air Eng’g Inc.,
       267 F.3d 660 (7th Cir. 2001) .......................................................................................... 7, 9

Chi-Boy Music v. Charlie Club,
      930 F.2d 1224 (7th Cir. 1991) .......................................................................................... 12

Door Sys. v. Pro-Line Door Sys.,
      83 F.3d 169 (7th Cir. 1996) ................................................................................................ 7

Lorillard Tobacco Co. v. J.J. Shell Food Mart, Inc.,
        No. 03-cv-5506, 2005 U.S. Dist. LEXIS 26626 (N.D. Ill. Oct. 27, 2005) ....................... 13

Lorillard Tobacco Co. v. S&M Cent. Serv. Corp.,
        No. 03-cv-4986, 2004 U.S. Dist. LEXIS 22563 (N.D. Ill. Nov. 5, 2004) .................... 9, 10

Louis Vuitton Malletier, et al. v. Veit,
       211 F. Supp. 2d 567 (E.D. Pa. 2002) ................................................................................ 14

Louis Vuitton Malletier, S.A. v. Mosseri,
       No. 07-cv-2620, 2009 U.S. Dist. LEXIS 100851 (D.N.J. Oct. 28, 2009) ........................ 14

Louis Vuitton S.A. v. Pun Yang Lee,
       875 F.2d 584 (7th Cir. 1989) ............................................................................................ 11

Luxottica Group S.p.A. v. Li Hui, et al.,
       No. 1:15-cv-06977 (N.D. Ill. Sept. 29, 2015) ................................................................... 17

Luxottica USA LLC v. The Partnerships, et al.,
       2015 U.S. Dist. LEXIS 78961 (N.D. Ill. June 18, 2015) ............................ 1, 14, 15, 16, 17

Microsoft Corp. v. Rechanik,
      249 F. App’x 476 (7th Cir. 2007) ................................................................................. 8, 11

                                                                  iii
                                                                     
    Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 4 of 24 PageID #:8813



Monster Energy Company v. Meng Chun Jing, et al.,
      2015 U.S. Dist. LEXIS 86956 (N.D. Ill. July 6, 2015) ....................... 10, 11, 13, 14, 15, 17

Neopost Industrie B.V. v. PFE Int’l Inc.,
      403 F. Supp. 2d 669 (N.D. Ill. 2005) .................................................................................. 5

Packaging Supplies, Inc. v. Harley-Davidson, Inc.,
      2011 WL 1811446 (N.D. Ill. May 12, 2011) .................................................................... 6

Packman v. Chi. Tribune Co.,
      267 F.3d 628 (7th Cir. 2001) .............................................................................................. 4

Phillip Morris USA Inc. v. Marlboro Express,
        No. 03-cv-1161, 2005 U.S. Dist. LEXIS 40359 (E.D.N.Y. Aug. 26, 2005) .................... 16

Rolex Watch U.S.A., Inc. v. Jones,
       No. 99-cv-2359, 2002 U.S. Dist. LEXIS 6657 (S.D.N.Y. Apr. 17, 2002) ....................... 14

Sara Lee v. Bags of New York, Inc.,
       36 F. Supp. 2d 161 (S.D.N.Y. 1999)........................................................................... 12, 13

Tiffany (NJ) LLC v. Dong, No. 11-cv-2183,
        2013 U.S. Dist. LEXIS 114986 (S.D.N.Y. Aug. 9, 2013) ................................................ 13

Tony Jones Apparel, Inc. v. Indigo USA, LLC,
       2005 U.S. Dist. LEXIS 14649 (N.D. Ill. July 11, 2005) ................................................... 17

Two Pesos, Inc. v. Taco Cabana, Inc.,
      505 U.S. 763 (1992) ........................................................................................................... 6

Statutes 

15 U.S.C. § 1057(b) ........................................................................................................................ 6

15 U.S.C. § 1065 ......................................................................................................................... 3, 6

15 U.S.C. § 1114(1) ........................................................................................................................ 5

15 U.S.C. § 1115(a) ........................................................................................................................ 6

15 U.S.C. § 1115(b) .................................................................................................................... 3, 6

15 U.S.C. § 1116(a) ................................................................................................................ 17, 18

15 U.S.C. § 1117(b) ................................................................................................................ 17, 18

15 U.S.C. § 1117(c) ...................................................................................................... 9, 10, 12, 16

15 U.S.C. § 1117(c)(1).................................................................................................................. 10

                                                                      iv
                                                                        
    Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 5 of 24 PageID #:8814



15 U.S.C. § 1117(c)(2)............................................................................................................ 10, 16

15 U.S.C. § 1125(a)(1) ................................................................................................................... 5

15 U.S.C. § 1127 ............................................................................................................................. 7

17 U.S.C. § 504(c) ........................................................................................................................ 12

Fed. R. Civ. P. 56(a) ....................................................................................................................... 4




                                                                       v
                                                                         
     Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 6 of 24 PageID #:8815



                                           MEMORANDUM

        Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Plaintiff Van Cleef & Arpels

SA (“Plaintiff” or “Van Cleef & Arpels”) submits this Motion for Summary Judgment and a

Statutory Damages Award as to the Defendant identified by and operating at least the Internet

Store royalwaytrade1 (“Defendant”), which is advertising and offering for sale products using

counterfeit reproductions of Plaintiff Van Cleef & Arpels’ federally registered, famous and well-

known ALHAMBRA trademarks (the “Counterfeit Products”) through their fully interactive,

commercial Internet store royalwaytrade (the “Defendant Internet Store”). In recent similar cases

in this District, Courts entered summary judgment in favor of the trademark owners, found willful

infringement and trademark counterfeiting, and awarded substantial six-figure statutory damage

awards. Bulgari, S.p.A. v. Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS 140606, at *7 (N.D. Ill.

Oct. 15, 2015) (awarding $100,000 for three represented sales); Luxottica USA LLC v. The

Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *7-10 (N.D. Ill. June 18, 2015) ($150,000

awarded for three infringed marks, and holding that even though there was no evidence submitted

that defendant was a “large-scale counterfeiter,” defendant’s online sale of counterfeit goods made

plaintiff’s actual losses difficult to calculate and justified a substantial award).

I.      INTRODUCTION

        Since its inception in 1906, Van Cleef & Arpels has been known for its innovative, highly

artistic and high-quality luxury jewelry and timepieces (the “Van Cleef & Arpels Products”). Van

Cleef & Arpels Products typically include at least one of the Van Cleef & Arpels’ registered



1
 Defendant is also identified by and operating the Internet Stores dealsgoing, sfcdirect and uptogethertek,
which were sued in Luxottica Group, S.p.A. and Oakley, Inc. v. Hao Li, et al., No. 16-cv-487 (N.D. Ill. Feb.
25, 2016). Counsel for Plaintiff also represents Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. in the
Luxottica action.


                                                     1
                                                      
   Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 7 of 24 PageID #:8816



trademarks, which include its Alhambra trademarks. Van Cleef & Arpels has sold tens of millions

of dollars' worth of jewelry, including rings, pendants, earring, necklaces and bracelets, that

incorporate the Alhambra marks and has spent millions of dollars advertising, marketing and

otherwise promoting the Alhambra marks, which, according to a New York Times article, are

considered an "iconic symbol of wealth and inclusion on a par with the [Hermes] Birkin bag."

Declaration of Richard Graham (the “Graham Declaration”) at ¶ 4. The Alhambra marks have

appeared over the years in advertisements and features in nationally-circulated, well-known

publications, including Elle, Town & County, People, Travel + Leisure, Vogue, Harper’s Bazaar,

Forbes, and W, among others. Id. at ¶ 5. Women’s Wear Daily quoted the former president of

Bergdorf Goodman as saying “[t]he distinctive Alhambra [trademark] is iconic in the world of

jewelry,” and “Van Cleef & Arpels has built a signature collection based on the Alhambra design,

which has become emblematic of Van Cleef & Arpels.” Id. at ¶ 6. Additionally, Luxist, a website

that covers luxury goods and services, stated that “[t]he iconic quatrefoil is the time-honored

symbol of health, wealth, true love and luck, at once an embodiment of simplistic elegance. The

Alhambra [mark] has become a most-desired addition to the jewel boxes of legends of the screen

and stage, members of the royal set, exquisite tastemakers and jewelry lovers throughout the

world.” Id. at ¶ 7.

       Celebrities including, but not limited to, Jane Fonda, Hilary Swank, Carrie Underwood and

Debra Messing have been photographed wearing jewelry incorporating the Alhambra marks. Id.

at ¶ 8. Historically, the Alhambra line of jewelry is most identified with Grace Kelly (later known

as H.S.H. Princess Grace of Monaco), who owned several necklaces. Id. at ¶ 9. In 2011, the

Smithsonian’s Cooper-Hewitt Design Museum hosted an exhibit for Van Cleef & Arpels’ jewelry,

featuring one of Princess Grace of Monaco’s Alhambra necklaces. Id. Contemporarily, Reese



                                                2
                                                  
   Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 8 of 24 PageID #:8817



Witherspoon is most associated with the Alhambra trademarks, as an article from People magazine

noted Ms. Witherspoon’s collection of jewelry incorporating the Alhambra trademarks. Id. at ¶

10. Consumers have also seen the Alhambra trademarks featured in major motion pictures and

television shows, including Sex and the City 2 (2010), Gossip Girl (Season 2, 2008-09), When in

Rome (2010), L.A. Confidential (2007), and Boss (2011). Id. at ¶ 11.

       Plaintiff moves for summary judgment against Defendant for federal trademark

infringement and counterfeiting (Count I), false designation of origin (Count II), and violation of

the Illinois Uniform Deceptive Trade Practices Act (“UDTPA”) (Count IV). There is no genuine

issue of material fact as to whether Defendant is engaged in advertising and offering for sale

Counterfeit Products on the Defendant Internet Store. Further, Plaintiff requests that this Court

include a finding that the Defendant’s conduct was willful and award statutory damages in the

amount of at least ninety thousand dollars ($90,000).

       A.      Plaintiff Van Cleef & Arpels’ ALHAMBRA Trademarks

       Plaintiff Van Cleef & Arpels holds numerous U.S. federal trademark registrations for its

trademarks, including U.S. Registration Nos. 4,037,174 and 4,653,258 (hereinafter, the

“ALHAMBRA Trademarks”). Plaintiff’s Rule 56.1 Statement of Undisputed Facts at ¶ 1 (“Rule

56.1 Statement”). The U.S. registrations for the ALHAMBRA Trademarks are valid, subsisting,

and in full force and effect. Id.

       B.      Defendant’s Unlawful Activities

       Defendant is reaching out to do business with Illinois residents by operating the Defendant

Internet Store through which Illinois residents can purchase Counterfeit Products. Rule 56.1

Statement at ¶ 4. Defendant was selling and/or offering for sale products bearing counterfeit

versions of Van Cleef & Arpels’ ALHAMBRA Trademarks (defined above as the “Counterfeit

Products”) through the Online Marketplace Account identified as royalwaytrade at the URL

                                                3
                                                  
    Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 9 of 24 PageID #:8818



ebay.com/usr/royalwaytrade (defined above as the “Defendant Internet Store”). Id. at ¶ 2.

Specifically, Defendant offered for sale earrings bearing counterfeits of the ALHAMBRA

Trademarks for $6.05 CAD (approximately $4.47 USD). Id. By way of reference, genuine

earrings bearing the ALHAMBRA Trademarks retail for over $4,000 USD. Graham Declaration

at ¶ 12. Defendant identified the product as “2x 1 Black Four Leaf Clover White Pearl Stud

Earrings Ear Studs.” Rule 56.1 Statement at ¶ 2. Plaintiff examined the images of the Counterfeit

Products shown on the Defendant Internet Store and determined the products were counterfeit. Id.

In addition, Plaintiff’s investigator purchased Counterfeit Products offered for sale on the

Defendant Internet Store. Id. Plaintiff has not authorized or licensed the Defendant to use the

ALHAMBRA Trademarks on the Defendant Internet Store. Id. at ¶ 3. Defendant is not an

authorized retailer of genuine Van Cleef & Arpels Products, and the Counterfeit Products offered

for sale on the Defendant Internet Store are not genuine Van Cleef & Arpels Products. Id.

       C.     Procedural History

       Plaintiffs filed this action on January 27, 2016, alleging claims relating to federal trademark

infringement and counterfeiting, and seeking statutory damages and injunctive relief against

Defendant. [1, 10]. This Court granted an injunction against Defendant on February 2, 2016,

finding that Plaintiffs demonstrated, among other things, a strong likelihood of success on the

merits of their trademark infringement and counterfeiting claims.2 [27]. Defendant filed an

Answer [39] to Plaintiffs’ Amended Complaint on March 6, 2016. The Court entered Default and

Default Judgment [47] (awarding statutory damages of two hundred thousand dollars ($200,000)

per defendant) against defaulting defendants on March 17, 2016, with the exception of Defendant.




2
  The Temporary Restraining Order [27] was subsequently converted to a Preliminary Injunction
[31] on February 16, 2016.
                                                 4
                                                   
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 10 of 24 PageID #:8819



II.    ARGUMENT

       A.        Summary Judgment Standard

       A district “court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a).     The district court must decide “whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law.” Packman v. Chi. Tribune Co., 267 F.3d 628, 637 (7th Cir. 2001). A

genuine dispute as to any material fact only exists if a reasonable jury could return a verdict for

the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       B.        Plaintiff Is Entitled to Summary Judgment Against Defendant on Its
                 Trademark Infringement and Counterfeiting, False Designation of Origin,
                 and UDTPA Claims

       A defendant is liable for trademark infringement and counterfeiting under the Lanham Act

if it, “without the consent of the registrant, use[s] in commerce, any reproduction, copy, or

colorable imitation of a registered mark in connection with the sale, offering for sale, distribution,

or advertising of any goods … which such use is likely to cause confusion, or to cause mistake or

to deceive.” 15 U.S.C. § 1114(1). Section 43(a) of the Lanham Act further imposes liability

upon a defendant who “on or in connection with any goods or services ... uses in commerce any

... false designation of origin, false or misleading description of fact, or false or misleading

misrepresentation of fact, which is likely to cause confusion or to cause mistake, or to deceive as

to the ... origin, sponsorship, or approval of his or her goods ... by another person.” 15 U.S.C.

§ 1125(a)(1). Under the UDTPA, a defendant is liable for, among other things, (1) passing off

goods as those of another; (2) causing likelihood of confusion or of misunderstanding as to the

source, sponsorship, approval, or certification of goods; or (3) causing likelihood of confusion or



                                                  5
                                                   
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 11 of 24 PageID #:8820



of misunderstanding as to affiliation, connection, or association with another. 815 Ill. Comp.

Stat. 510/2(a).

       For a prima facie case of infringement, Van Cleef & Arpels must show that (1) the

ALHAMBRA Trademarks are distinctive enough to be worthy of protection; (2) Defendant is not

authorized to use the ALHAMBRA Trademarks; and (3) Defendant’s use of the ALHAMBRA

Trademarks causes a likelihood of confusion as to the origin or sponsorship of Defendant’s

products. See Neopost Industrie B.V. v. PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005)

(citation omitted). Van Cleef & Arpels satisfies all three requirements of the Lanham Act to

successfully bring a trademark infringement and counterfeiting claim. Van Cleef & Arpels’

Section 43(a) of the Lanham Act and UDTPA claims involve the same elements. See Packaging

Supplies, Inc. v. Harley-Davidson, Inc., 2011 WL 1811446, at *5 (N.D. Ill. May 12, 2011).

Moreover, “the ultimate test is whether the public is likely to be deceived or confused by the

similarity of the marks .... [w]hether we call the violation infringement, unfair competition or false

designation of origin, the test is identical – is there a likelihood of confusion?” Two Pesos, Inc.

v. Taco Cabana, Inc., 505 U.S. 763, 780 (1992) (internal citations omitted).

                       i.      The ALHAMBRA Trademarks Are Federally Registered

       Regarding the first element, Van Cleef & Arpels’ ALHAMBRA Trademarks are registered

with the United States Patent and Trademark Office on the Principal Register. Rule 56.1 Statement

at ¶ 1. The issuance of federal registrations on the Principal Register constitutes prima facie

evidence of the validity of Van Cleef & Arpels’ registered trademarks and of the registration of

the marks, of Van Cleef & Arpels’ ownership of the trademarks, and of Van Cleef & Arpels’

exclusive right to use the marks in commerce. 15 U.S.C. §§ 1115(a), 1057(b).

       Therefore, there can be no genuine issue of material fact as to whether Van Cleef & Arpels

has valid and exclusive rights in the ALHAMBRA Trademarks.
                                                  6
                                                   
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 12 of 24 PageID #:8821



                      ii.     Defendant Advertised and/or Offered to Sell Counterfeit Goods in
                              Commerce without Van Cleef & Arpels’ Authorization

       Defendant advertised and offered for sale products using the ALHAMBRA Trademarks

via the Defendant Internet Store. Defendant is not an authorized retailer of genuine Van Cleef &

Arpels Products, and the Counterfeit Products offered for sale on the Defendant Internet Store are

not genuine Van Cleef & Arpels Products. Rule 56.1 Statement at ¶ 3.

                      iii.    Defendant’s Use of the Counterfeit ALHAMBRA Trademarks
                              Causes a Likelihood of Confusion and Infringes as a Matter of Law

       The side-by-side comparison below shows that Defendant’s unauthorized marks are

spurious marks which are identical with, or substantially indistinguishable from, the registered

ALHAMBRA Trademarks, and thus are counterfeit.               15 U.S.C. § 1127 (definition of

“counterfeit”).

    Registered ALHAMBRA Trademarks                     Defendant’s Counterfeit Products




       In a trademark infringement case, likelihood of consumer confusion is ordinarily a question

of fact. CAE, Inc. v. Clean Air Eng’g Inc., 267 F.3d 660, 677 (7th Cir. 2001) (citations omitted).

However, “if the evidence is so one-sided that there can be no doubt about how the question should

be answered,” the question of whether likelihood of confusion exists may be resolved on summary

judgment. Id. (citing Door Sys. v. Pro-Line Door Sys., 83 F.3d 169, 173 (7th Cir. 1996)).

                                                7
                                                  
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 13 of 24 PageID #:8822



       The Seventh Circuit has held that where “one produces counterfeit goods in an apparent

attempt to capitalize upon the popularity of, and demand for, another’s product, there is a

presumption of a likelihood of confusion.” Microsoft Corp. v. Rechanik, 249 F. App’x 476, 479

(7th Cir. 2007). Accordingly, the Court can presume a likelihood of confusion from Defendant’s

use of the ALHAMBRA Trademarks.

       The result is the same when considered in light of the Seventh Circuit’s seven enumerated

factors to determine whether there is a likelihood of confusion, which include: (1) the similarity

between the marks in appearance and suggestion; (2) the similarity of the products; (3) the area

and manner of concurrent use; (4) the degree and care likely to be exercised by consumers; (5) the

strength of the plaintiff’s mark; (6) any actual confusion; and, (7) the intent of the defendant to

“palm off” his products as that of another. AutoZone, Inc. v. Strick, 543 F.3d 923, 929 (7th Cir.

2008). No one factor is dispositive, but the similarity of the marks, actual confusion, and the

defendant’s intent are “particularly important.” Id.

       Van Cleef & Arpels has submitted documentation showing that the Defendant is selling

Counterfeit Products that are substantially indistinguishable in appearance from genuine Van Cleef

& Arpels Products and use counterfeit marks identical to the federally registered ALHAMBRA

Trademarks. Both Van Cleef & Arpels and the Defendant advertise and sell their products over

the Internet, targeting consumers searching for genuine Van Cleef & Arpels Products. [15] at ¶

17; Rule 56.1 Statement at ¶ 2.        Those consumers are diverse with varying degrees of

sophistication, and they are likely to have difficulty distinguishing genuine Van Cleef & Arpels

Products from Counterfeit Products. In that regard, Defendant advertises and offers to sell

Counterfeit Products that look similar to genuine Van Cleef & Arpels Products and use the

ALHAMBRA Trademarks. Rule 56.1 Statement at ¶ 2. In addition, Defendant causes post-sale



                                                 8
                                                  
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 14 of 24 PageID #:8823



confusion because a potential customer seeing the Counterfeit Products may mistakenly attribute

the product to Van Cleef & Arpels, thereby influencing his buying decision, either positively or

negatively. CAE, Inc. v. Clean Air Eng'g, Inc., 267 F.3d 660, 683 (7th Cir. 2001). Van Cleef &

Arpels does not need to prove actual consumer confusion; rather it only needs to show a likelihood

of confusion exists, particularly given the compelling evidence that Defendant is attempting to

“palm off” its goods as genuine Van Cleef & Arpels Products. CAE, Inc. v. Clean Air Eng’g, Inc.,

267 F.3d 660, 685 (7th Cir. 2001).

III.   PLAINTIFF IS ENTITLED TO STATUTORY DAMAGES

       There is no genuine issue of material fact as to whether Defendant has infringed the

ALHAMBRA Trademarks through their willful and intentional trademark counterfeiting. Further,

there is no genuine issue of material fact as to whether Defendant’s infringement was willful,

because Defendant knew it was infringing the ALHAMBRA Trademarks or, at a minimum, had a

reckless disregard for Van Cleef & Arpels’ rights. As such, Van Cleef & Arpels elects to recover

an award of statutory damages as authorized by 15 U.S.C. § 1117(c) for trademark counterfeiting

for Defendant’s sale of Counterfeit Products.

       The awarding of statutory damages serves dual interests in that it is remedial in nature, but

also intended to protect an important public interest. Sands, Taylor & Wood, 34 F.3d at 1347-48.

Given the broader economic losses and harm to the job market caused by counterfeiting, coupled

with the possible dangers to consumers who are tricked into purchasing low quality, counterfeit

products over the Internet, it is important to both penalize defendants and try to deter future

violations. Lorillard Tobacco Co. v. S&M Cent. Serv. Corp., No. 03-cv-4986, 2004 U.S. Dist.

LEXIS 22563, *18 (N.D. Ill. Nov. 5, 2004). Accordingly, Van Cleef & Arpels respectfully

requests the Court’s entry of an award in the amount of at least ninety thousand dollars ($90,000)

against the Defendant for willful counterfeiting of the ALHAMBRA Trademarks.
                                                9
                                                  
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 15 of 24 PageID #:8824



       A.      Statutory Damages Are Appropriate in this Case

       Pursuant to the statutory damages provision of the Lanham Act, 15 U.S.C. § 1117(c), a

plaintiff in a case involving the use of a counterfeit mark may elect to receive “not less than $1,000

or more than $200,000 per counterfeit mark per type of goods or services sold, offered for sale, or

distributed, as the court considers just.” 15 U.S.C. § 1117(c)(1). When the counterfeiting is found

to be willful, 15 U.S.C. § 1117(c)(2) provides for statutory damages of up to “$2,000,000 per

counterfeit mark per type of goods or services sold, offered for sale, or distributed, as the court

considers just.”   15 U.S.C. § 1117(c)(2).       “Willful infringement may be attributed to the

defendant’s actions where he had knowledge that his conduct constituted infringement or where

he showed a reckless disregard for the owner’s rights.” Lorillard Tobacco Co., 2004 U.S. Dist.

LEXIS 22563 at *19-20; Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S. Dist.

LEXIS 86956, at *10 (N.D. Ill. July 6, 2015). As such, knowledge need not be proven directly,

but can be inferred from a defendant’s conduct. Id. at 20.

       Plaintiff Van Cleef & Arpels has sold tens of millions of dollars' worth of jewelry,

including rings, pendants, earring, necklaces and bracelets, that incorporate the ALHAMBRA

Trademarks and has spent millions of dollars advertising, marketing and otherwise promoting the

ALHAMBRA Trademarks, which, according to a New York Times article, are considered an

"iconic symbol of wealth and inclusion on a par with the [Hermes] Birkin bag." Graham

Declaration at ¶ 4. Women’s Wear Daily quoted the former president of Bergdorf Goodman as

saying “[t]he distinctive Alhambra [trademark] is iconic in the world of jewelry,” and “Van Cleef

& Arpels has built a signature collection based on the Alhambra design, which has become

emblematic of Van Cleef & Arpels.” Id. at ¶ 6. Additionally, numerous celebrities have been

photographed wearing jewelry incorporating the ALHAMBRA Trademarks, and jewelry

incorporating the ALHAMBRA Trademarks has been featured in numerous television shows and
                                                 10
                                                   
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 16 of 24 PageID #:8825



motion pictures. Id. at ¶¶ 8, 10, 11. As a result, products featuring the ALHAMBRA Trademarks

are widely recognized and exclusively associated by consumers, the public, and the trade as being

high-quality products sourced from Plaintiffs. Thus, Defendant’s use of the ALHAMBRA

Trademarks had to be willful, because products sold under the ALHAMBRA Trademarks are

widely recognized and associated exclusively with Van Cleef & Arpels. See Monster Energy

Company v. Meng Chun Jing, et al., 2015 U.S. Dist. LEXIS 86956, at *10 (N.D. Ill. July 6, 2015);

Bulgari, S.p.A. v. Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS 140606, at *6. In addition,

Defendant offered its Counterfeit Products at prices well below the market prices for genuine

products bearing the ALHAMBRA Trademarks, which also indicates willful counterfeiting. Rule

56.1 Statement at ¶ 2; Graham Declaration at ¶ 12. See Louis Vuitton S.A. v. Pun Yang Lee, 875

F.2d 584, 589 (7th Cir. 1989) (“manufacturers of high-fashion leather goods do not distribute them

to retail outlets through itinerant peddlers, do not line the goods with purple vinyl, and do not sell

them at prices which permit the retailer to make money reselling them for $ 37.80.”).

       Although 15 U.S.C. § 1117(c) contains the dollar range for possible statutory damage

awards, the only guidance provided by the statute for how to determine a damage award within

the statutory dollar range is “as the court considers just.” 15 U.S.C. § 1117(c). Courts interpreting

15 U.S.C. § 1117(c) have analogized case law applying the statutory damage provision of the

Copyright Act contained in 17 U.S.C. § 504(c). See Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS

22563, *10; Sara Lee v. Bags of New York, Inc., 36 F. Supp. 2d 161, 166 (S.D.N.Y. 1999).

       The Seventh Circuit's standard for awarding statutory damages for copyright infringement

under 17 U.S.C § 504(c) is articulated in Chi-Boy Music v. Charlie Club, 930 F.2d 1224, 1229 (7th

Cir. 1991). Under the Chi-Boy standard, a court awarding statutory damages is “not required to

follow any rigid formula,” but instead “enjoys wide discretion.” Id. In computing the award



                                                 11
                                                   
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 17 of 24 PageID #:8826



amount, a court may consider factors such as “the difficulty or impossibility of proving actual

damages, the circumstances of the infringement, and the efficacy of the damages as a deterrent.”

Id. Courts in this district have also considered the significant value of a plaintiff’s brand and the

efforts taken to protect, promote and enhance that brand in determining the appropriate dollar

figure for the award. Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS 22563 at *16.

       Further, because damages inquiries under Section 1117(c) consider both punitive and

compensatory considerations, “there is no necessary mathematical relationship between the size

of such an award and the extent or profitability of the defendant’s wrongful activities.” Sara Lee,

36 F. Supp. 2d at 165. Thus, courts have looked beyond restitution of profit and restoration of

injury to award damages, holding that deterrence of future infringement by the defendant and

others situated like him is an important factor. Lorillard Tobacco Co. v. J.J. Shell Food Mart, Inc.,

No. 03-cv-5506, 2005 U.S. Dist. LEXIS 26626, *16 (N.D. Ill. Oct. 27, 2005). Courts have also

held that damages awards limited to lost profits would have little to no deterrent effect on future

violations – “a counterfeiter must fear more than just having to turn over his ill-gotten gains to the

rightful owners.” See Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS 22563 at *17.

       B.      Defendant’s Wide Exposure over the Internet Merits a Substantial Statutory
               Damages Award

       Defendant’s ability to reach a vast customer base by willfully advertising and offering for

sale Counterfeit Products over the Internet on the eBay marketplace platform merits a substantial

statutory damages award. Defendant has the ability to “reach a virtually limitless number of

potential customers worldwide.” Tiffany (NJ) LLC v. Dong, No. 11-cv-2183, 2013 U.S. Dist.

LEXIS 114986, *17 (S.D.N.Y. Aug. 9, 2013) (awarding a total of $9 million in statutory damages,

noting defendant’s vast customer base). Defendant is able to reach a large base of active buyers

with the eBay platform. As of December 31, 2015, the eBay marketplace had more than 162


                                                 12
                                                   
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 18 of 24 PageID #:8827



million active buyers. Declaration of Allyson Martin at ¶ 2. Courts in this District have also

recognized the ability for online marketplace sellers to reach a vast customer base and this effect

on statutory damages. See Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S. Dist.

LEXIS 86956, at *11 (holding that AliExpress “is a busy website that provides the potential to

reach a vast customer base.”); Bulgari, S.p.A. v. Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS

140606, at *7 (“[i]t is difficult for Bulgari to prove actual damages because the internet platform

Li used, AliExpress.com, is a popular website reaching a vast customer base.”). As such, a

substantial statutory damages award is justified, and in similar cases involving willful Internet-

based counterfeiting, courts often award high damages awards due to wide market exposure. See

Luxottica USA LLC v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *7-10 (N.D. Ill.

June 18, 2015) ($150,000 awarded for three infringed marks based on defendant’s online sale of

counterfeit goods); Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S. Dist. LEXIS

86956, at *13 (awarding statutory damages of $1 million); Rolex Watch U.S.A., Inc. v. Jones, No.

99-cv-2359, 2002 U.S. Dist. LEXIS 6657, at *16 (S.D.N.Y. Apr. 17, 2002) (holding that an award

of $25,000 for each category of trademarked goods would be inadequate in view of the virtually

limitless number of available customers on the Internet, distinguishing cases where defendants had

“storefront operations,” and noting that one of defendant’s websites had more than 90,000

visitors); Louis Vuitton Malletier, S.A. v. Mosseri, No. 07-cv-2620, 2009 U.S. Dist. LEXIS

100851, *9 (D.N.J. Oct. 28, 2009) (awarding over $4 million in total statutory damages, finding

that defendant’s operation of its counterfeit goods enterprise on the Internet exponentially

increased the damages); Louis Vuitton Malletier, et al. v. Veit, 211 F. Supp. 2d 567, 584-85 (E.D.

Pa. 2002) (awarding $1,500,000 total and stating "the point of sale is very relevant to the statutory

damages discussion" because “143 million Americans use the internet and represent the



                                                 13
                                                   
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 19 of 24 PageID #:8828



counterfeiter’s potential customer base”); Burberry Ltd. v. Designers Imps., Inc., No. 07-cv-3997,

2010 U.S. Dist. LEXIS 3605, *28 (S.D.N.Y. Jan. 19, 2010) (Court awarded $1,500,000 in statutory

damages representing $100,000 per mark per type of goods, finding that a large award was

necessary because of “defendant’s ability to reach a vast customer base through internet

advertising”).

       Thus, Van Cleef & Arpels’ request for a high statutory damages award should be given

favorable consideration in view of the Defendant’s wide market exposure and ability to reach a

vast customer base over the Internet.

       C.        The Value of the ALHAMBRA Trademarks Justifies a High Statutory
                 Damages Award

       In determining an appropriate damage award, this Court should be guided by the Lorillard

case and consider the “significant value of [the ALHAMBRA] brand and the efforts taken to

protect, promote and enhance that brand.” Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS 22563

at *16. As noted previously in this Memorandum, Plaintiff Van Cleef & Arpels has sold tens of

millions of dollars' worth of jewelry, including rings, pendants, earring, necklaces and bracelets,

that incorporate the ALHAMBRA Trademarks and has spent millions of dollars advertising,

marketing and otherwise promoting the ALHAMBRA Trademarks. Graham Declaration at ¶ 4.

Jewelry incorporating the ALHAMBRA Trademarks has been extensively recognized by

unsolicited publicity as “iconic,” “distinctive,” “[a] symbol of wealth and inclusion,” and

“emblematic” of Plaintiff Van Cleef & Arpels. Id. at ¶¶ 4, 6, 7. As such, the ALHAMBRA

Trademarks are famous marks and valuable assets of Van Cleef & Arpels.

       Van Cleef & Arpels, in conjunction with its co-plaintiffs in this action, has a worldwide

anti-counterfeiting program, and regularly investigate suspicious websites and online marketplace

listings identified in proactive Internet sweeps and reported by consumers. [15] at ¶ 55. Van Cleef


                                                14
                                                  
    Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 20 of 24 PageID #:8829



& Arpels, in conjunction with its co-plaintiffs, has also taken action against the owners/operators

of thousands of websites and online marketplace listings.3 Thus, Van Cleef & Arpels’ request for

a high statutory damages award should be given favorable consideration in view of the value of

the ALHAMBRA Trademarks and the extensive steps being taken to protect, promote and enhance

them. See Monster Energy Company v. Meng Chun Jing, et al., 2015 U.S. Dist. LEXIS 86956, at

*11; Luxottica USA LLC v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *7-8 (N.D.

Ill. June 18, 2015) (N.D. Ill. June 18, 2015); Bulgari, S.P.A. v. Zou Xiaohong, et al., 2015 U.S.

Dist. LEXIS 140606, at *7.

        D.     The Requested Statutory Damages Award Must Sufficiently Deter Defendant
               and Similar Online Counterfeit Sellers

        Additionally, the remedy imposed under the statute must provide a sufficient deterrent

effect to ensure that the guilty party will not engage in further infringing conduct. Sands, Taylor

& Wood, 34 F.3d at 1348. For example, in Phillip Morris USA Inc. v. Marlboro Express, the Court

stated that due to, “the size of the potential profit given the quantities of [counterfeit goods]

involved, and the need for a substantial deterrent to future misconduct by defendants and other

counterfeit traffickers ... plaintiff is entitled to the maximum statutory award under 15 U.S.C. §

1117(c)(2).” No. 03-cv-1161, 2005 U.S. Dist. LEXIS 40359, *28 (E.D.N.Y. Aug. 26, 2005). See

also Luxottica USA LLC v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *8; Bulgari,

S.P.A. v. Zou Xiaohong, et al., 2015 U.S. Dist. LEXIS 140606, at *7.

        Given the Court’s clear discretion in determining the appropriate amount of the statutory

damages award within the statutory limits of 15 U.S.C. § 1117(c), Van Cleef & Arpels respectfully

requests the Court’s entry of an award in the amount of at least ninety thousand dollars ($90,000)


3
 Richemont International SA, et al. v. Chen Mei, et al., No. 15-cv-5991 (N.D. Ill. Sept. 9, 2015);
Richemont International SA, et al. v. Jing Mi Ling, et al., No. 15-cv-7482 (N.D. Ill. Oct. 13, 2015);
Richemont International SA, et al. v. Fengyu Li, et al., No. 15-cv-10410 (N.D. Ill. Jan. 12, 2016).
                                                 15
                                                   
     Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 21 of 24 PageID #:8830



against the Defendant. Van Cleef & Arpels’ request for damages is reasonable in light of prior

awards against Internet-based counterfeiters. Bulgari, S.p.A. v. Zou Xiaohong, et al., 2015 U.S.

Dist. LEXIS 140606, at *7 (N.D. Ill. Oct. 15, 2015) ($100,000 awarded for three represented

sales); Luxottica USA LLC v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *7-10

(N.D. Ill. June 18, 2015) ($150,000 awarded for three infringed marks).

IV.      PLAINTIFF IS ENTITLED TO PERMANENT INJUNCTIVE RELIEF

         In addition to the foregoing relief, Van Cleef & Arpels respectfully requests entry of a

permanent injunction enjoining Defendant from advertising, offering for sale, and selling

Counterfeit Products or otherwise violating its rights in the ALHAMBRA Trademarks. 15 U.S.C.

§ 1116(a); See also Luxottica Group S.p.A. v. Li Hui, et al., No. 1:15-cv-06977 (N.D. Ill. Sept. 29,

2015) (permanently enjoining and restraining defendants from selling counterfeit products).

V.       PLAINTIFF IS ENTITLED TO ATTORNEY’S FEES AND COSTS

         Pursuant to 15 U.S.C. § 1117(b), in a case involving use of a counterfeit mark, the court

shall, unless it finds extenuating circumstances, award a reasonable attorney’s fee if the violation

consists of intentionally using a mark, knowing such mark is a counterfeit mark, in connection

with the sale, offering for sale, or distribution of goods. 15 U.S.C. § 1117(b). Luxottica USA LLC

v. The Partnerships, et al., 2015 U.S. Dist. LEXIS 78961, at *14; Monster Energy Company v.

Meng Chun Jing, et al., 2015 U.S. Dist. LEXIS 86956, at *13; Bulgari, S.P.A. v. Zou Xiaohong, et

al., 2015 U.S. Dist. LEXIS 140606, at *9-10. Thus, if a defendant is liable because it was willfully

blind, or because it knew the products it was selling were counterfeit, an award of attorney's fees

is mandatory under § 1117(b), absent extenuating circumstances. Tony Jones Apparel, Inc. v.

Indigo USA, LLC, 2005 U.S. Dist. LEXIS 14649, *31-33 (N.D. Ill. July 11, 2005). Van Cleef &

Arpels respectfully requests entry of an award of its reasonable attorney’s fees and costs pursuant



                                                16
                                                  
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 22 of 24 PageID #:8831



to 15 U.S.C. § 1117(a) and (b) because Defendant knowingly and willfully advertised and offered

for sale Counterfeit Products.

VI.    CONCLUSION

       Based on the above, Van Cleef & Arpels respectfully requests that this Court enter an order

granting summary judgment against Defendant for willful federal trademark infringement and

counterfeiting (Count I), false designation of origin (Count II), and violation of the Illinois

Uniform Deceptive Trade Practices Act (Count IV). Finally, Van Cleef & Arpels requests that

this Court award Van Cleef & Arpels statutory damages against Defendant of at least ninety

thousand dollars ($90,000), enter a permanent injunction prohibiting Defendant from advertising,

offering for sale, and selling Counterfeit Products and awarding Van Cleef & Arpels its reasonable

attorney’s fees and costs pursuant to 15 U.S.C. § 1117(a) and (b).




                                               17
                                                  
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 23 of 24 PageID #:8832



Dated this 24th day of March 2016.   Respectfully submitted,


                                     /s/ Justin R. Gaudio_______________
                                     Kevin W. Guynn
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Jessica L. Bloodgood
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080 / 312.360.9315 (facsimile)
                                     kguynn@gbclaw.net
                                     aziegler@gbclaw.net
                                     jgaudio@gbclaw.net
                                     jbloodgood@gbclaw.net

                                     Counsel for Plaintiff Van Cleef & Arpels SA




                                       18
                                          
  Case: 1:16-cv-01227 Document #: 50 Filed: 03/24/16 Page 24 of 24 PageID #:8833



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of March 2016, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system. The CM/ECF system will send a “Notice

of E-Filing” to the attorneys of record in this case.


                                               /s/ Justin R. Gaudio_______________
                                               Kevin W. Guynn
                                               Amy C. Ziegler
                                               Justin R. Gaudio
                                               Jessica L. Bloodgood
                                               Greer, Burns & Crain, Ltd.
                                               300 South Wacker Drive, Suite 2500
                                               Chicago, Illinois 60606
                                               312.360.0080 / 312.360.9315 (facsimile)
                                               kguynn@gbclaw.net
                                               aziegler@gbclaw.net
                                               jgaudio@gbclaw.net
                                               jbloodgood@gbclaw.net

                                               Counsel for Plaintiff Van Cleef & Arpels SA




                                                  19
                                                    
